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                                  COURTROOM MINUTES
                               ARRAIGNMENT/PLEA HEARING

DATE:_____________
      5/24/2022       DAY:_______________
                            Tuesday          START TIME:_____________
                                                          12:40 pm    END TIME:_______________
                                                                                 1:03 pm

JUDGE/MAG.:____________________
             WMC                     CLERK:____________________
                                             JLS                REPORTER:____________________
                                                                           FTR

PROBATION OFFICER:_________________ INTERPRETER:__________________         SWORN: YES      NO
CASE NUMBER:_________________
              21-cr-116-wmc          CASE NAME: USA v. ________________________________________
                                                         Cody Walker-Nelson

APPEARANCES:
ASST. U.S. ATTY.:_________________________
                  Corey Stephan                   DEFENDANT ATTY.:_____________________________
                                                                    Alexander Vlisides

                 _________________________                           _____________________________
                                                  DEFENDANT PRESENT: YES          NO
OFFENSE INFORMATION:
                         1&3
MAXIMUM PENALTY: CT(S) _______________;   20/10
                                        _______________                        250k/250k
                                                        YR(S) IMPRISONMENT; $________________ FINE;
 3/3
_________ YEAR(S) SUPERVISED RELEASE;   $_____________
                                          100           SPECIAL ASSESSMENT;           RESTITUTION.
                   31
DEFENDANT AGE:__________       INDICTMENT/INFORMATION READ           DEFENDANT WAIVES READING
PLEA:
        GUILTY                    DEFENDANT SWORN
        NOT GUILTY                PLEA ACCEPTED AS KNOWING AND VOLUNTARY
        NO CONTEST                DEFT. ADJUDGED GUILTY BY COURT
        MUTE
TRIAL SCHEDULE:
   JURY SEL./TRIAL: _________________________        TRIAL ESTIMATE:____________ DAYS
   PTMH/EVID. HRG.: _________________________        MOTIONS DUE:____________________
   FPTC:              _________________________      FPTC SUBMISSIONS:________________
   FINAL HEARING: _________________________
SENTENCING SCHEDULE:
   PRESENTENCE REPORT DUE:________________
                              7/29/2022              OBJECTIONS DUE:_______________
                                                                      8/12/2022

   SENTENCING :_______________
                 9/1/2022      at ____________
                                   1:00 pm

RELEASE/DETENTION:
        ORDER SETTING CONDITIONS OF RELEASE ENTERED/AFFIRMED.
        DEFENDANT DETAINED PENDING TRIAL/SENTENCING.
        DEFENDANT TEMPORARILY DETAINED; DETENTION HEARING:______________________________
NOTES:
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
                                                                                       23 min
                                                                    TOTAL COURT TIME:__________
